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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION

UNITED STATES OF AMERICA

vs.                                               CASE NO.: 1:05cr18-SPM/AK

ISREAL TRAVIS BISHOP
     a/k/a “Iz,”
     a/k/a/ “Hiz,”

           Defendant.
______________________________/

                       ACCEPTANCE OF GUILTY PLEA

      Pursuant to the Report and Recommendation of the United States

Magistrate Judge, to which there have been no timely objections, and subject to

the Court’s consideration of any Plea Agreement pursuant to Fed. R. Crim. P.

11(e)(2), the plea of guilty of the defendant, ISREAL TRAVIS BISHOP, to Count

One of the indictment is hereby ACCEPTED. All parties shall appear before this

Court for sentencing as directed.

      DONE AND ORDERED this 20th day of June, 2005.


                                      s/ Stephan P. Mickle
                                    Stephan P. Mickle
                                    United States District Judge
